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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



MASIH ALINEJAD;

               Plaintiff,

     v.                                             Civil Action No: 1:19-cv-03599-EGS

THE ISLAMIC REPUBLIC OF IRAN et al..;

               Defendants.



                                INDEX TO EXHIBITS TO
                            MOTION FOR DEFAULT JUDGMENT


 Exhibit No.      Description
     1            Declaration of Masih Alinejad
     2            Declaration of Kambiz Foroohar
     3            Declaration of Roya Hakakian
     4            Declaration of Ramin Ahmadi
     5            Declaration of Mehrangiz Kar
     6            Masih Alinejad Certificate of Naturalization
     7            Photo of Masih Alinejad and her brother Alireza on a rice farm in the village
                  of Ghomikola, Iran in 2007
     8            Swiss Embassy Certification of Service of Process on Defendants
     9            Plaintiff’s Offer to Arbitrate and Electronic U.S.P.S. Certified Mail Return
                  Receipt
     10           Nahid Siamdoust, “‘Jesus’ vs. Ahmadinejad”, TIME (May 7, 2008)
     11           Masih Alinejad Profile, STRIVING FOR HUMAN RIGHTS
     12           Julia Carpenter, “Iranian Women Shed Hijabs for ‘Stealthy Freedom’
                  Facebook Page”, THE WASHINGTON POST (May 16, 2014)
     13           “My Stealthy Freedom” group page, FACEBOOK.COM
     14           “Iranians Protest Over Acid Attacks on Women, Apparently for Not
                  Wearing Veils” ABC NEWS (Oct. 22, 2014)
     15           “Secretary Pompeo’s Meeting with Iranian Women’s Rights Activist Masih
                  Alinejad”, Press Statement, U.S. DEP’T OF STATE (Feb. 4, 2019)
     16           Sonia Elks, “Iranian Women Defy Prison Threats by Sending Veil Photos:
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     17           U.S. Department of State, Bureau of Democracy, Human Rights, and Labor,
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28     “Exiled Journalists Threatened, Pressured and Defamed from inside Iran”
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29     U.S. Department of State, State Sponsors of Terrorism
30     U.S. Department of State, 2019 Country Reports on Terrorism
31     Iran Action Group, “Outlaw Regime: A Chronicle of Iran’s Destructive
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32     “Amnesty International Accuses Iran of ‘Blatant’ Intimidation of Activist
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33     “Brother of Anti-Hijab Activist Sentenced to Eight Years in Iran”, RADIO
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34     @AlinejadMasih, TWITTER (Feb. 13, 2021 at 1:12 PM),
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35     FIDH/Justice for Iran, Orwellian State: Islamic Republic of Iran’s State
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39     Documentation of Twitter Threats: @AlinejadMasih, TWITTER (Aug. 3,
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